 

IN THE UNITED STATES DISTRlCT COURT
F()R THE EASTERN DISTRICT 0F TENNESSEE AT GREENEV!LLE

Lori K. \Vilhoit,
Plaintiff,

v. Civil Action No.

 

Time Insurance Company,

Defendant.

 

NOTICE OF REM()VAL

 

Pursuant to 28 U.S.C. § l44l(a), et Seq., defendant, Time lnsurance Cornpany (“Time”)
files this Notice of Removal of this action from State Court to this Court and respectfully states
as follows:

l. On October lO, 2008, plaintiff, Lori K. Wilhoit (“Wilhoit”) commenced a civil
action in the Chancery Court of Washington County, Tennessee (“the State Court”), bearing the
style, Lori K. Wil/zoit v. Tz'me Insum)'zce Company, Docket No. 37159 (“the Civil Action”). The
Civil Action is still pending in the State Court.

2. Tirne was served with a copy of the Summons and Cornplaint for Declaratory
Judgment on October 24, 2008, copies of Which are attached as Exhibit A, and Which constitute
all process, pleadings, and orders served on Tirne in the Civil Action to date.

3. Time has, to datej made no appearance in the Civil Action in State Court.

4. The Civil Action is one of Which this Court has jurisdiction pursuant to 28 U.S.C.

§ 1332 and removal jurisdiction pursuant to 28 U.S.C. § 1441 in that:

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(a) Time, both at the time of filing of the Civil Action and as of the date of filing of
this Notice, was and is a corporate citizen incorporated under the laws of the State of Wisconsin
with its principal place of business in the State of Wisconsin.

(b) Wilhoit, both at the time of filing of the Civil Action and as of the date of filing
this Notice, was and is a citizen of the State of Tennessee.

(c) Jurisdiction exists between all parties properly joined in the civil action in that the
civil action is between citizens of different States, and the amount in controversy exceeds
375,000, exclusive of interest and costs.

(d) This action is within the original jurisdiction of the Court pursuant to the

provisions of28 U.S.C. § 1332.

5. Time has filed this Notice prior to the expiration of thirty (30) days following its

receipt of a copy ofthe Complaint.

6. Time will give written notice to Wilhoit and will file a Notice of Filing of Notice
of Rernoval with the Clerk of the Chancery Court of Washington County, Tennessee. Time

attaches a copy of the Notice of Filing ofNotice of Removal as Exhibit B.

WHEREFORE, defendant, Time lnsurance Company prays that the Civil Action now
pending against it in the Chancery Court of Washington County, Tennessee, be removed
therefrom to this Court.

Respectfully Submitted,

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S. RUSSELL HEADRICK (TN5750)
LESLIE L. BEALE (TN22()15)

 

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Atzorneys for Defendant

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and exact copy of the foregoing has been
served upon the following via prepaid U.S. l\/lail this )‘WZV day of Novemher, 2008.

Howell H. Sherrod, Jr.

249 East Main Street
Johnson City, Tennessee 37604

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Attorney

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